                     EXHIBIT C




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MAGESH0l               TENNESSEE DEPA!   NT OF CORRECTION      DATE:    10/30/2���
                         OFFENDER CLA&�-�ICATION SUMMARY       TIME:    10:07 A

TOMIS ID:         00261368
Offender Name:    PIKE� CHRISTA G.
Institution Name: TENNESSEE PRISON FOR t-iOIIBN
Classification Type; CLASSIFICATION                     CAF Date: 10/30/2007
status at time of Hearing: Gen.Pop. __ AS__ PC _ Other ________
Incompatibles: Yes,VNo_ Inmate agrees to waive 48 hr. hearing notice:
Scored CAF Ran ge: MINIMUM          Current Custody Level: MAXIMUM


                                                               ✓
Panel's    Najority Recommendation:
    Facility    Assignment: ::rPF   J     Transfer: Yes__ No         -lain Below:
    custody Level:
    override T ype:



� �· �.tqm �±�
    Justification, Program Recommendations, and Summary:




Panel Member Signatures:




If panel member disagrees with majority recommend,




If denied, reasons include: ________________________




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